           Case 1:12-cv-01060-LJO-SAB Document 18 Filed 06/24/13 Page 1 of 1



1

2                                       UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
3

4

5    CHRISTY VASQUEZ,           ) Case No. 1:12-CV-01060-LJO-DLB
                                )
6
     Plaintiff,                 ) ORDER
7                               )
            vs.                 )
8
                                )
9    VAN RU CREDIT CORPORATION, )
10
                                )
     Defendant.                 )
11                              )
12

13         IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
16   their own costs and expenses. The clerk is directed to close this action.
17

18

19

20
     IT IS SO ORDERED.
21

22      Dated:                   June 21, 2013                          /s/ Lawrence J. O’Neill
                                                                UNITED STATES DISTRICT JUDGE
23
           DEAC_Signature-END:




24         66h44d
25

26

27

28




                                                 Order to Dismiss - 1
